                                 EXHIBIT
     Case 1:16-cv-24607-PCH Document 62-3 "C"
                                          Entered on FLSD Docket 07/14/2017 Page 1 of 6
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
        UNITED STATES DISTRICT COURT                                                   DISTRICT OF                        SOUTHERN DISTRICT OF FLORIDA


                        GEORGE BENTLEY
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
             MIAMI AIR INTERNATIONAL, INC.                                                                             Case Number: 16-CV-24607

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 PAUL HUCK                                                          DANA M. GALLUP                                            JUDSON L. COHEN
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 7/24/2017
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             A                                                      Plaintiff Complaint with Attachments                    R
             B                                                      EEOC Case File                                          H, R
             C                                                      EEOC Charge

             D                                                      06152008 Collective Bargaining Agreement

             E                                                      2009 Company Handbook

             F                                                      Job Descriptions                   R
             G                                                      2012 to 2017 Pilot Information from ADP

             H                                                      03142017 - Plaintiff Response to 02162017 ROGS

             I                                                      03142017 - Plaintiff Response to 02162017 PODS

             J                                                      PRB - Passwater - Notes

            K1                                                      Pilot Seniority List - PILOT SENIORITY 12122011

            K2                                                      Pilot Seniority List - PILOT SENIORITY 11272012

            K3                                                      Pilot Seniority List - PILOT SENIORITY 12122013

            K4                                                      Pilot Seniority List - PILOT SENIORITY 12012014

            K5                                                      Pilot Seniority List - PILOT SENIORITY 11030215

            K6                                                      Pilot Seniority List - PILOT SENIORITY 12132016

            K7                                                      Pilot Seniority List - PILOT SENIORITY 01032017

            K8                                                      Pilot Seniority List - PILOT SENIORITY 02062017

            L1                                                      Training File - Attell,Craig

            L2                                                      Training File - Ballesteros,Carlos

            L3                                                      Training File - Ballou,David

            L4                                                      Training File - Bentley,George
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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                                                                                              CASE NO.
          GEORGE BENTLEY               vs. MIAMI AIR INTERNATIONAL, INC.                      16-CV-24607
 PLF.   DEF.     DATE
                         MARKED ADMITTED                                   DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

        L5                                 Training File - Carballosa,Edward


        L6                                 Training File - Cosentino,Gabriel

        L7                                 Training File - De Lucia,Paolo

        L8                                 Training File - DeClerck,John

        L9                                 Training File - Delarosa,Sergio

        L10                                Training File - Edmond, Ronald

        L11                                Training File - Fernandez,Adrian

        L12                                Training File - Fruciano,Daniel

        L13                                Training File - Gerkovich,Dustin

        L14                                Training File - Haines,William

        L15                                Training File - Hall,Thomas

        L16                                Training File - Keane,Patrick

        L17                                Training File - King,Louisa

        L18                                Training File - Klein,Anthony

        L19                                Training File - Lian,Robert

        L20                                Training File - McDonagh,Paul

        L21                                Training File - McDonald,Kevin

        L22                                Training File - Mendoza,David

        L23                                Training File - Moore,Timothy

        L24                                Training File - Morton,Marcel

        L25                                Training File - Prince,Michael

        L26                                Training File - Rangel,Daniel


        L27                                Training File - Rhatigan,Brian

        L28                                Training File - Rodriguez,Luis

        L29                                Training File - Shepherd,David

        L30                                Training File - Sosa,Javier

        L31                                Training File - Tweed,Scott


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                         MARKED ADMITTED                               DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

        L32                                Training File - Youngberg,Brad


        M1                                 Employment File - redacted - Fernandez Adrian - Employment

        M2                                 Employment File - redacted - Fruciano Daniel - Employment

        M3                                 Employment File - redacted - Gerkovich Dustin - Employment

        M4                                 Employment File - redacted - Haines William - Employment

        M5                                 Employment File - redacted - Hall Thomas - Employment

        M6                                 Employment File - redacted - McDonagh Paul - Employment

        M7                                 Employment File - redacted - McDonald Kevin - Employment

        M8                                 Employment File - redacted - Moore Timothy - Employment

        M9                                 Employment File - redacted - Prince Michael - Employment

        M10                                Employment File - redacted - Rangel Daniel - Employment

        M11                                Employment File - redacted - Rhatigan Brian - Employment

        M12                                Employment File - redacted - Rodriguez Luis - Employment

        M13                                Employment File - redacted - Shepherd David - Employment

        M14                                Employment File - redacted - Ballou David - Employment

        M15                                Employment File - Bentley, George - Employee File - Unredacted

        M16                                Employment File - redacted - Carballosa Edward - Employment

        M17                                Employment File - redacted - Cosentino Gabriel - Employment

        M18                                Employment File - redacted - DeLucia Paulo - Employment

        N1                                 July 2013 Captain List with DOB and Disposition Added

        N2                                 August 2014 Captain List with DOB and Disposition Added

        N3                                 September 2014 Captain List with DOB and Disposition Added


        N4                                 May 2015 Captain List with DOB and Disposition Added

        N5                                 January 2016 Captain List with DOB and Disposition Added

        N6                                 May 2016 Captain List with DOB and Disposition Added

        N7                                 August 2016 Captain List with DOB and Disposition Added

        O1                                 12222015 E-mail from Plaintiff


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                         MARKED ADMITTED                               DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

        O2                                 12232015 E-mail from Paul Rutter                         R, H
        O3                                 01122016 E-mail from Miguel Martin

        O4                                 05142016 E-mail from Miguel Martin

        O5                                 05172016 E-mail from Geirge Bentley

        O6                                 09122016 E-mail from Miguel Martin

        P1                                 GEORGE BENTLEY - Deposition - Transcript                  R
        P2                                 George Bentley Deposition Exhibits - Composite            R

        P3                                 Exhibit A from George Bentley Deposition

        P4                                 Exhibit B from George Bentley Deposition

        P5                                 Exhibit C from George Bentley Deposition

        P6                                 Exhibit D from George Bentley Deposition

        Q1                                 STEVE JOFFRION - Deposition - Transcript                     R, H
        Q2                                 Steve Joffrion Deposition Exhibits - Composite                 R
        Q3                                 Plaintiff Exhibit 1 from 052517 Joffrion Deposition EXHIBITS

        Q4                                 Plaintiff Exhibit 2 from 052517 Joffrion Deposition EXHIBITS

        Q5                                 Plaintiff Exhibit 3 from 052517 Joffrion Deposition EXHIBITS

        Q6                                 Plaintiff Exhibit 4 from 052517 Joffrion Deposition EXHIBITS

        Q7                                 Plaintiff Exhibit 5 from 052517 Joffrion Deposition EXHIBITS

        Q8                                 Plaintiff Exhibit 6 from 052517 Joffrion Deposition EXHIBITS

        Q9                                 Plaintiff Exhibit 7 from 052517 Joffrion Deposition EXHIBITS

        Q10                                Plaintiff Exhibit 8 from 052517 Joffrion Deposition EXHIBITS

        Q11                                Plaintiff Exhibit 9 from 052517 Joffrion Deposition EXHIBITS


        Q12                                Plaintiff Exhibit 10 from 052517 Joffrion Deposition EXHIBITS

        Q13                                Plaintiff Exhibit 11 from 052517 Joffrion Deposition EXHIBITS

        Q14                                Plaintiff Exhibit 12 from 052517 Joffrion Deposition EXHIBITS

        Q15                                Plaintiff Exhibit 13 from 052517 Joffrion Deposition EXHIBITS

        Q16                                Plaintiff Exhibit 14 from 052517 Joffrion Deposition EXHIBITS


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 NO.    NO.    OFFERED

        Q17                                Plaintiff Exhibit 15 from 052517 Joffrion Deposition EXHIBITS


        Q18                                Plaintiff Exhibit 16 from 052517 Joffrion Deposition EXHIBITS

        Q19                                Plaintiff Exhibit 16A from 052517 Joffrion Deposition EXHIBITS

        Q20                                Plaintiff Exhibit 17 from 052517 Joffrion Deposition EXHIBITS

        Q21                                Plaintiff Exhibit 18 from 052517 Joffrion Deposition EXHIBITS

        Q22                                Plaintiff Exhibit 19 from 052517 Joffrion Deposition EXHIBITS

        Q23                                Plaintiff Exhibit 20 from 052517 Joffrion Deposition EXHIBITS

        Q24                                Plaintiff Exhibit 21 from 052517 Joffrion Deposition EXHIBITS

        Q25                                Plaintiff Exhibit 22 from 052517 Joffrion Deposition EXHIBITS

        Q26                                Defendant Exhibit 23 from 052517 Joffrion Deposition EXHIBITS         R, H, UP I
        Q27                                Defendant Exhibit 24 from 052517 Joffrion Deposition EXHIBITS
                                                                                                                     R, H, UP, I
        Q28                                Defendant Exhibit 25 from 052517 Joffrion Deposition EXHIBITS

        Q29                                Defendant Exhibit 26 from 052517 Joffrion Deposition EXHIBITS

        Q30                                Defendant Exhibit 27 from 052517 Joffrion Deposition EXHIBITS

        Q31                                Defendant Exhibit 28 from 052517 Joffrion Deposition EXHIBITS

        Q32                                Defendant Exhibit 29 from 052517 Joffrion Deposition EXHIBITS

        Q33                                Defendant Exhibit 30 from 052517 Joffrion Deposition EXHIBITS

        Q34                                Defendant Exhibit 31 from 052517 Joffrion Deposition EXHIBITS

        Q35                                Defendant Exhibit 32 from 052517 Joffrion Deposition EXHIBITS

        Q36                                Defendant Exhibit 33 from 052517 Joffrion Deposition EXHIBITS

        Q37                                Defendant Exhibit 34 from 052517 Joffrion Deposition EXHIBITS

         R                                 JOH PASSWATER - Deposition - Transcript                               R, H

         S                                 DEB GIGOLOTTI - Deposition - Transcript                               R, H

        T1                                 MIGUEL MARTIN - Deposition - Transcript                           R, H

        T2                                 Miguel Martin - Deposition Exhibits - Composite                       R
        U1                                 BRAD YOUNGBERG - Deposition - Transcript                          R, H

        U2                                 Brad Youngberg - Deposition Exhibits - Composite                       R

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 NO.    NO.    OFFERED

        V1                                 2010 Bentley Flight Schedule                  R, H UP

        V2                                 2011 Bentley Flight Schedule                  R, H, UP
        V3                                 2012 Bentley Flight Schedule                  R, H, UP
        V4                                 2013 Bentley Flight Schedule                   R,H, UP
        V5                                 2014 Bentley Flight Schedule                   R,H,UP
        V6                                 2015 Bentley Flight Schedule
                                                                                           R,H,UP
        V7                                 2016 Bentley Flight Schedule
                                                                                               R, H, UP
        V8                                 2017 Bentley Flight Schedule - to 042017            R, H, UP




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